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 5
     Attorney(s) for Plaintiff Social Positioning Input Systems, LLC
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 8
                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9

10

11    SOCIAL POSITIONING INPUT                      CASE NO. 2:21-cv-00519
      SYSTEMS, LLC,
12
                         Plaintiff,                 COMPLAINT FOR PATENT
13
                                                    INFRINGEMENT
14    v.

15    CLEARPATHGPS, INC.,                           JURY TRIAL DEMANDED
16                       Defendant.
17

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19
           Pursuant to F.R.C.P. 15(a)(1)(B), Plaintiff Social Positioning Input Systems,
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21   LLC (“Plaintiff” or “SPIS”) files this Complaint against ClearPathGPS, Inc.
22
     (“Defendant” or “ClearPathGPS”) for infringement of United States Patent No.
23
     9,261,365 (hereinafter “the ‘365 Patent”).
24

25                            PARTIES AND JURISDICTION
26
           1.     This is an action for patent infringement under Title 35 of the United
27
     States Code. Plaintiff is seeking injunctive relief as well as damages.
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                  PLAINTIFF’S COMPLAINT AGAINST DEFENDANT CLEARPATHGPS, INC.
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            2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331

 2   (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
 3
     infringement arising under the United States patent statutes.
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 5          3.     Plaintiff is a Texas limited liability company with a virtual office located

 6   at 1801 NE 123 Street, Suite 314, Miami, FL 33181.
 7
            4.     On information and belief, Defendant is a California corporation with its
 8

 9   principal office located at 1129 State Street, Suite 3, Santa Barbara, CA 93101. On

10   information and belief, Defendant may be served through its agent, R. Chris Koers,
11
     125 East Victoria Street, Suite A, Santa Barbara CA 93101.
12

13          5.     On information and belief, this Court has personal jurisdiction over
14   Defendant because Defendant has committed, and continues to commit, acts of
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     infringement in this District, has conducted business in this District, and/or has
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17   engaged in continuous and systematic activities in this District.
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            6.     On information and belief, Defendant’s instrumentalities that are alleged
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     herein to infringe were and continue to be used, imported, offered for sale, and/or sold
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21   in this District.
22
                                             VENUE
23
            7.     On information and belief, venue is proper in this District under 28
24

25   U.S.C. § 1400(b) because Defendant is deemed to be a resident of this District.
26
     Alternatively, acts of infringement are occurring in this District and Defendant has a
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     regular and established place of business in this District.
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                    PLAINTIFF’S COMPLAINT AGAINST DEFENDANT CLEARPATHGPS, INC.
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 1
                                COUNT I
           (INFRINGEMENT OF UNITED STATES PATENT NO. 9,261,365)
 2

 3         8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.

 4         9.     This cause of action arises under the patent laws of the United States
 5
     and, in particular, under 35 U.S.C. §§ 271, et seq.
 6

 7         10.    Plaintiff is the owner by assignment of the ‘365 Patent with sole rights

 8   to enforce the ‘365 Patent and sue infringers.
 9
           11.    A copy of the ‘365 Patent, titled “Device, System and Method for
10

11   Remotely Entering, Storing and Sharing Addresses for a Positional Information
12   Device,” is attached hereto as Exhibit A.
13
           12.    The ‘365 Patent is valid, enforceable, and was duly issued in full
14

15   compliance with Title 35 of the United States Code.
16
           13.    The ‘365 Patent teaches a method and apparatus for entering, storing and
17
     sharing addresses for a positional information device.
18

19         14.    The ‘365 Patent recognized problems associated with then-existing
20
     devices and methods for route guidance and address entry into mobile devices. For
21
     example, then-existing devices required manual entry of information. ‘365 Patent,
22

23   1:25-2:25. Also, different devices had different interfaces and accepted address
24
     information differently. Id. Also, then-existing systems would not allow a user to
25
     enter route information while driving. Id. Also, if a user had multiple vehicles all
26

27   going to a location, the address information had to be entered multiple times. Id.
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 1
            15.    The claimed invention of the ‘365 Patent addressed these and other

 2   problems by providing systems and methods that, at least in some embodiments,
 3
     include a requesting positional information device, a sending positional information
 4

 5   device, and a server. ‘365 Patent, Summary, and Claim 1. The requesting positional

 6   information device makes a request to a server for an address stored in the sending
 7
     positional information device. Id. The request includes a first identifier associated
 8

 9   with the requesting positional information device. Id. The server obtains the address

10   from the sending positional information device.       Id. This involves the server
11
     determining a second identifier for the sending positional information device based
12

13   on the first identifier. Id.
14          16.    The present invention solves problems that existed with then-existing
15
     navigation systems associate with having address information loaded onto a
16

17   positional information device (such as a GPS-equipped mobile phone). Problems
18
     arose due to a number of different factors including: (1) disparate navigational
19
     devices; (2) navigational devices that required preprogramming of address
20

21   information; (3) the use of different vehicles by one or more users all going to the
22
     same address; and (4) users needing address information downloaded while driving.
23
     See, ‘365 Patent Specification, Background.
24

25          17.    The systems embodied in the ‘365 Patent claims incorporate hardware
26
     and software components that operate in a way that was neither generic, nor well-
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     known, at least at the time of the invention.
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                   PLAINTIFF’S COMPLAINT AGAINST DEFENDANT CLEARPATHGPS, INC.
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 1
           18.    The ‘365 Patent solves problems with the art that are rooted in computer

 2   technology and that are associated with electronic transmission, loading, and storage
 3
     of location information, as well as automatic provisioning of route guidance. The ‘365
 4

 5   Patent claims do not merely recite the performance of some business practice known

 6   from the pre-Internet world along with the requirement to perform it on the Internet.
 7
           19.    The improvements of the ‘365 Patent and the features recited in the
 8

 9   claims in the ‘365 Patent provide improvements to conventional hardware and

10   software systems and methods. The improvements render the claimed invention of
11
     the ‘365 Patent non-generic in view of conventional components.
12

13         20.    The improvements of the ‘365 Patent and the features recitations in the
14   claims of the ’365 Patent are not those that would be well-understood, routine or
15
     conventional to one of ordinary skill in the art at the time of the invention.
16

17         21.    Upon information and belief, Defendant has infringed and continues to
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     infringe one or more claims, including at least Claim 1, of the ‘365 Patent by making,
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     using (at least by having its employees, or someone under Defendant's control, test
20

21   the accused Product), importing, selling, and/or offering for sale associated hardware
22
     and software for asset locating services (e.g., ClearPathGPS fleet tracking platform,
23
     app, and/or associated hardware and/or software) (“Product”) covered by at least
24

25   Claim 1 of the ‘365 Patent. Defendant has infringed and continues to infringe the ‘365
26
     patent either directly or through acts of contributory infringement or inducement in
27
     violation of 35 U.S.C. § 271.
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                   PLAINTIFF’S COMPLAINT AGAINST DEFENDANT CLEARPATHGPS, INC.
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 1
           22.    The Product provides a vehicle tracking system for real-time GPS

 2   tracking of assets. A user can receive location information on a positional information
 3
     device (e.g., mobile device or computer). Certain aspects of this element are
 4

 5   illustrated in the screenshot(s) below and/or in those provided in connection with

 6   other allegations herein.
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                  PLAINTIFF’S COMPLAINT AGAINST DEFENDANT CLEARPATHGPS, INC.
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           23.    The Product software sends a request from a first (requesting) positional
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17   information device (e.g., mobile device or desktop with software installed) to a server.

18   The request is for the real-time location (e.g., stored address) of a vehicle or vehicles,
19
     and includes a first identifier of the requesting positional information device (e.g.,
20

21   user ID and password for the Product software used in the particular enterprise). The

22   request is sent to the Product server for transmitting the vehicle location. The server
23
     receives the at least one address from a second (sending) positional information
24

25   device at the vehicle.      Certain aspects of this element are illustrated in the
26   screenshot(s) below and/or in those provided in connection with other allegations
27
     herein.
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                   PLAINTIFF’S COMPLAINT AGAINST DEFENDANT CLEARPATHGPS, INC.
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           24.   The at least one address is received from the server at the requesting
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26   positional information device.   For example the Product’s server transmits the
27   position of an asset (at least one address) to the requesting positional information
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                  PLAINTIFF’S COMPLAINT AGAINST DEFENDANT CLEARPATHGPS, INC.
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      device. Certain aspects of this element are illustrated in the screenshot(s) below

  2   and/or in those provided in connection with other allegations herein.
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 17
            25.    A second identifier for the second (sending) positional information
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 19
      device is determined based on the first identifier and the server retrieves the at least

 20   one address stored in the at least one sending positional information device. The
 21
      Product application installed on the requesting positional information device requests
 22

 23
      (from the server) the vehicle’s GPS location (i.e., at least one stored address stored).

 24   As shown above, before activating the tracker (i.e., the sending positional information
 25
      device), a unique tracking device’s ID number (i.e., second identifier) needs to be
 26

 27
      added to the user’s account identified by the user login ID and password (i.e., the first

 28   identifier). Hence, the tracker device’s ID number (i.e., second identifier) is mapped
                                                10
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  1
      to the user’s login ID (i.e., the first identifier) for tracking the real-time location (i.e.,

  2   at least one stored address stored) of the vehicle. Certain aspects of this element are
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      illustrated in the screenshot(s) below and/or in those provided in connection with
  4

  5   other allegations herein.

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                    PLAINTIFF’S COMPLAINT AGAINST DEFENDANT CLEARPATHGPS, INC.
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 15         26.    Defendant’s actions complained of herein will continue unless
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      Defendant is enjoined by this court.
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            27.    Defendant’s actions complained of herein are causing irreparable harm

 19   and monetary damage to Plaintiff and will continue to do so unless and until
 20
      Defendant is enjoined and restrained by this Court.
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 22         28.    Plaintiff is in compliance with 35 U.S.C. § 287.

 23                                PRAYER FOR RELIEF
 24
            WHEREFORE, Plaintiff asks the Court to:
 25

 26         (a)    Enter judgment for Plaintiff on this Complaint on all causes of action

 27   asserted herein;
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  1
            (b)    Enter an Order enjoining Defendant, its agents, officers, servants,

  2   employees, attorneys, and all persons in active concert or participation with Defendant
  3
      who receive notice of the order from further infringement of United States Patent No.
  4

  5   9,261,365 (or, in the alternative, awarding Plaintiff a running royalty from the time of

  6   judgment going forward);
  7
            (c)    Award Plaintiff damages resulting from Defendant’s infringement in
  8

  9   accordance with 35 U.S.C. § 284;

 10         (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
 11
            (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
 12

 13   entitled under law or equity.
 14
      Dated: January 20, 2021                Respectfully submitted,
 15

 16                                          /s/ Stephen M. Lobbin
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 21
                                             Attorney(s) for Plaintiff Social Positioning
 22                                          Input Systems, LLC
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                   PLAINTIFF’S COMPLAINT AGAINST DEFENDANT CLEARPATHGPS, INC.
